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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              January 2024 Grand Jury

11   UNITED STATES OF AMERICA,                  CR No. 2:24-cr-00144-SPG

12              Plaintiff,                      I N D I C T M E N T

13              v.                              [18 U.S.C. § 1951(a): Interference
                                                with Commerce by Robbery, and
14   MARTEL MORFIN,                             Attempted Interference with
                                                Commerce by Robbery; 18 U.S.C.
15              Defendant.                      §§ 924(c)(1)(A)(i), (ii): Using,
                                                Carrying, Possessing, and
16                                              Brandishing a Firearm in
                                                Furtherance of, and During and in
17                                              Relation to, a Crime of Violence;
                                                18 U.S.C. § 922(g)(1): Felon in
18                                              Possession of a Firearm and
                                                Ammunition; 18 U.S.C.
19                                              §§ 924(d)(1), 981(a)(1)(C), and
                                                28 U.S.C. § 2461(c): Criminal
20                                              Forfeiture]
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22        The Grand Jury charges:
23                                         COUNT ONE
24                               [18 U.S.C. § 1951(a)]
25        On or about December 29, 2023, in Los Angeles County, within the
26   Central District of California, defendant MARTEL MORFIN obstructed,
27   delayed, and affected commerce and the movement of articles and
28   commodities in commerce by knowingly and willingly committing
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 1   robbery, in that defendant MORFIN unlawfully took property consisting

 2   of approximately $350 in cash belonging to Burger King, located at

 3   7956 Lankershim Boulevard, in Los Angeles, California, a national

 4   fast-food chain, the inventory of and payments to which traveled in

 5   interstate commerce, in the presence of Burger King employees,

 6   against their will, by means of actual and threatened force,

 7   violence, and fear of injury, immediate and future, to their persons.

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 1                                         COUNT TWO

 2                      [18 U.S.C. §§ 924(c)(1)(A)(i), (ii)]

 3        On or about December 29, 2023, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN knowingly

 5   used and carried a firearm, namely, a Ruger, Model P95, 9mm caliber

 6   semiautomatic pistol, bearing an obliterated serial number, during

 7   and in relation to, and possessed the firearm in furtherance of, a

 8   crime of violence, namely, Interference with Commerce by Robbery, in

 9   violation of Title 18, United States Code, Section 1951(a), as

10   charged in Count One of this Indictment, and, in so doing, brandished

11   the firearm.

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 1                                     COUNT THREE

 2                               [18 U.S.C. § 1951(a)]

 3        On or about December 30, 2023, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN obstructed,

 5   delayed, and affected commerce and the movement of articles and

 6   commodities in commerce by knowingly and willingly committing

 7   robbery, in that defendant MORFIN unlawfully took property consisting

 8   of approximately $1,000 in cash belonging to JR Taco Llama, located

 9   at 10118 San Fernando Road, in Los Angeles, California, a fast-food

10   restaurant, the inventory of and payments to which traveled in

11   interstate commerce, in the presence of a JR Taco Llama employee,

12   against his will, by means of actual and threatened force, violence,

13   and fear of injury, immediate and future, to his person.

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 1                                     COUNT FOUR

 2                      [18 U.S.C. §§ 924(c)(1)(A)(i), (ii)]

 3        On or about December 30, 2023, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN knowingly

 5   used and carried a firearm, namely, a Ruger, Model P95, 9mm caliber

 6   semiautomatic pistol, bearing an obliterated serial number, during

 7   and in relation to, and possessed the firearm in furtherance of, a

 8   crime of violence, namely, Interference with Commerce by Robbery, in

 9   violation of Title 18, United States Code, Section 1951(a), as

10   charged in Count Three of this Indictment, and, in so doing,

11   brandished the firearm.

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 1                                     COUNT FIVE

 2                               [18 U.S.C. § 1951(a)]

 3        On or about January 2, 2024, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN attempted to

 5   obstruct, delay, and affect commerce and the movement of articles and

 6   commodities in commerce by knowingly and willingly committing

 7   robbery, in that defendant MORFIN attempted to unlawfully take

 8   property belonging to Wendill’s Chicken, located at 10337 San

 9   Fernando Road, in Los Angeles, California, a fast-food restaurant,

10   the inventory of and payments to which traveled in interstate

11   commerce, in the presence of a Wendill’s Chicken employee, against

12   her will, by means of actual and threatened force, violence, and fear

13   of injury, immediate and future, to her person.

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 1                                         COUNT SIX

 2                               [18 U.S.C. § 1951(a)]

 3        On or about January 9, 2024, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN obstructed,

 5   delayed, and affected commerce and the movement of articles and

 6   commodities in commerce by knowingly and willingly committing

 7   robbery, in that defendant MORFIN unlawfully took property consisting

 8   of approximately $500 in cash belonging to Mobil Gas Station, located

 9   at 13310 Osborne Street, in Los Angeles, California, a national gas

10   corporation, the inventory of and payments to which traveled in

11   interstate commerce, in the presence of a Mobil Gas Station employee,

12   against his will, by means of actual and threatened force, violence,

13   and fear of injury, immediate and future, to his person.

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 1                                     COUNT SEVEN

 2                               [18 U.S.C. § 1951(a)]

 3        On or about January 12, 2024, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN attempted to

 5   obstruct, delay, and affect commerce and the movement of articles and

 6   commodities in commerce by knowingly and willingly committing

 7   robbery, in that defendant MORFIN attempted to unlawfully take

 8   property belonging to Del Taco, located at 10337 San Fernando Road,

 9   in Los Angeles, California, a national fast-food chain, the inventory

10   of and payments to which traveled in interstate commerce, in the

11   presence of a Del Taco employee, against his will, by means of actual

12   and threatened force, violence, and fear of injury, immediate and

13   future, to his person.

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 1                                     COUNT EIGHT

 2                              [18 U.S.C. § 922(g)(1)]

 3        On or about January 17, 2024, in Los Angeles County, within the

 4   Central District of California, defendant MARTEL MORFIN knowingly

 5   possessed the following firearm and ammunition, each in and affecting

 6   interstate and foreign commerce:

 7        1.    A Ruger, Model P95, 9mm caliber semiautomatic pistol,

 8   bearing an obliterated serial number; and

 9        2.    Seven rounds of CBC 9mm ammunition.

10        Defendant MORFIN possessed such firearm and ammunition knowing

11   that he had previously been convicted of at least one of the

12   following felony crimes, each punishable by a term of imprisonment

13   exceeding one year:

14        1.    Delivery of a Controlled Substance, namely methamphetamine,

15   in violation of Revised Code of Washington Sections 69.50.401(1),

16   (2)(b), in the Superior Court for the State of Washington, County of

17   Yakima, case number 16-1-00284-39, on or about September 6, 2017;

18        2.    Delivery of a Controlled Substance, namely methamphetamine,

19   in violation of Revised Code of Washington Sections 69.50.401(1),

20   (2)(b), in the Superior Court for the State of Washington, County of

21   Yakima, case number 16-1-00284-39, on or about September 6, 2017; and

22        3.    First Degree Unlawful Possession of a Firearm, in violation

23   of Revised Code of Washington Section 9.41.040(1)(a), in the Superior

24   Court for the State of Washington, County of Yakima, case number 22-

25   1-00692-39, on or about January 12, 2023.

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 1                              FORFEITURE ALLEGATION ONE

 2        [18 U.S.C. §§ 981(a)(1)(C), 924(d)(1) and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4    Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6    United States Code, Sections 981(a)(1)(C), 924(d)(1), and Title 28,

 7    United States Code, Section 2461(c), in the event of defendant’s

 8    conviction of the offenses set forth in any of Counts One, Three, and

 9    Five through Seven of this Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11    States of America the following:

12               a.    All right, title, and interest in any and all

13    property, real or personal, constituting, or derived from, any

14    proceeds traceable to any of the offenses;

15               b.    All right, title, and interest in any firearm or

16    ammunition involved in or used in any such offense; and

17               c.    To the extent such property is not available for

18    forfeiture, a sum of money equal to the total value of the property

19    described in subparagraphs (a) and (b).

20         3.    Pursuant to Title 21, United States Code, Section 853(p),

21    as incorporated by Title 28, United States Code, Section 2461(c),

22    defendant, if so convicted, shall forfeit substitute property, up to

23    the value of the property described in the preceding paragraph if, as

24    the result of any act or omission of said defendant, the property

25    described in the preceding paragraph or any portion thereof (a)

26    cannot be located upon the exercise of due diligence; (b) has been

27    transferred, sold to, or deposited with a third party; (c) has been

28    placed beyond the jurisdiction of the court; (d) has been

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 1    substantially diminished in value; or (e) has been commingled with

 2    other property that cannot be divided without difficulty.

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 1                              FORFEITURE ALLEGATION TWO

 2                  [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4    Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6    United States Code, Section 924(d)(1), and Title 28, United States

 7    Code, Section 2461(c), in the event defendant’s conviction of the

 8    offenses set forth in any of Counts Two, Four, or Eight of this

 9    Indictment.

10         2.    The defendant, if so convicted, shall forfeit to the United

11    States of America the following:

12               a.    All right, title, and interest in any firearm or

13    ammunition involved in or used in such offense; and

14               b.    To the extent such property is not available for

15    forfeiture, a sum of money equal to the total value of the property

16    described in subparagraph (a).

17         3.    Pursuant to Title 21, United States Code, Section 853(p),

18    as incorporated by Title 28, United States Code, Section 2461(c),

19    defendant, if so convicted, shall forfeit substitute property, up to

20    the value of the property described in the preceding paragraph if, as

21    the result of any act or omission of said defendant, the property

22    described in the preceding paragraph or any portion thereof (a)

23    cannot be located upon the exercise of due diligence; (b) has been

24    transferred, sold to, or deposited with a third party; (c) has been

25    placed beyond the jurisdiction of the court; (d) has been

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 1    substantially diminished in value; or (e) has been commingled with

 2    other property that cannot be divided without difficulty.

 3

 4                                                    A TRUE BILL
 5

 6                                                       /s/
                                                      Foreperson
 7

 8    E. MARTIN ESTRADA
      United States Attorney
 9
      MACK E. JENKINS
10    Assistant United States Attorney
      Chief, Criminal Division
11

12

13    SCOTT M. GARRINGER
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14    Deputy Chief, Criminal Division
15    BENEDETTO L. BALDING
      Assistant United States Attorney
16    Deputy Chief, General Crimes Section
17    KELLY LAROCQUE
      Assistant United States Attorney
18    General Crimes Section
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